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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


People of The State of New York

                                      Plaintiff(s),      Docket No: 1:23        CV 03773-AKH

                   -against-                             NOTICE OF PRO SE APPEARANCE



           Donald J. Trump
                                      Defendant(s).

I hereby enter an appearance on my own behalf in this action and request:
(please check one option below)

     that all future correspondence be mailed to me at the address below, or

 ✔   that all future correspondence be e-mailed to me at the e-mail address below. I have
      completed the attached Consent to Electronic Service.

I understand that if my address or e-mail address changes, I must immediately notify the Court
and all parties.


                                                                                 Plaintiff
 McKenzie, Lewis Brooks                                   INTERVENOR -->         Defendant


Name (Last, First, MI)

706 W. 4th Street, Clarksville, TX                                             75426
Address                        City                   State                    Zip Code

 972-837-5678                                         LBMTCU@gmail.com
Telephone Number                                      e-mail address


  06/12/2023                                          /s/ Lewis Brooks McKenzie /s/
Date                                                  Signature
